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                    UNITED STATES BANKRUPTCY COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               AT CHARLOTTE
______________________________________________________________________________

In re:                                         )
                                               )
SD-CHARLOTTE, LLC,                             )      Chapter 11
RTHT INVESTMENTS, LLC,                         )
SD RESTAURANT GROUP, LLC,                      )      Case No. 20-30149
SD-MISSOURI, LLC, and                          )
SOUTHERN DELI HOLDINGS, LLC,                   )      Joint Administration Requested

          Debtors.

______________________________________________________________________________

                 NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

______________________________________________________________________________


          PLEASE TAKE NOTICE that the undersigned appears for and on behalf of Itria Ventures,

LLC (“Itria”), for all purposes in connection with this case. Pursuant to Bankruptcy Rules 2002,

3017 and 9010(b) the undersigned hereby requests service of all notices, applications, motions,

orders, pleadings, reports, plans and disclosure statements filed or served in this case, and requests

that the name and address of the undersigned be added to all mailing matrices in this case. Service

may be made and directed as follows:

                 Mignon A. Lunsford, Esq.
                 BURR & FORMAN LLP
                 421 Fayetteville Street
                 Suite 1100, Office 1140
                 Raleigh, North Carolina 27601
                 Telephone: (919) 334-4709
                 Facsimile: (919-573-0771
                 Email: mlunsford@burr.com

          This notice of appearance and request for notices is submitted for the limited purpose of

receiving copies of notices, pleadings, judgments and orders in this case. By submitting this notice



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of appearance and request for notices, Itria is not consenting to or submitting to the jurisdiction of

the Bankruptcy Court for any purpose, and Itria expressly reserves the right to contest the

jurisdiction of the Bankruptcy Court and/or to demand a jury trial in any matter or proceeding to

which Itria may be a party.

                                                      Respectfully submitted,



                                                       s/ Mignon A. Lunsford
                                                      Mignon A. Lunsford
                                                      N.C. Bar No. 46220
                                                      BURR & FORMAN LLP
                                                      421 Fayetteville Street
                                                      Suite 1100, Office 1140
                                                      Raleigh, North Carolina 27601
                                                      Telephone: (919) 334-4709
                                                      Facsimile: (919-573-0771
                                                      Email: mlunsford@burr.com

                                                      Counsel for Itria Ventures, LLC


                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 10th day of February, 2020, a true and correct copy of the
Notice of Appearance and Request for Notices was filed electronically. Notice of this filing was
sent by operation of the Court’s electronic filing system to all parties indicated on the electronic
filing receipt. Parties may access this filing through the Court’s electronic filing system.


                                                      s/ Mignon A. Lunsford
                                                      MIGNON A. LUNSFORD




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